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 4 E-mail: faarenas@aol.com
 5 Of Counsel to:
 6 Michigan Consumer Credit Lawyers
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 7
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 9
10 Attorneys for Plaintiff,
11 Jacquita King
12
                        IN THE UNITED STATES DISTRICT COURT
13                           FOR THE DISTRICT OF NEVADA
14
     Jacquita King,
15
                      Plaintiff,                  Case No.: 2:19-cv-01462-JCM-VCF
16
17         vs.
18
     Medical Data Systems, Inc.
19
20                    Defendant.

21
22                        STIPULATION OF DISMISSAL
                 AS TO DEFENDANT MEDICAL DATA SYSTEMS, INC
23
24
           IT IS HEREBY ORDERED that the above-captioned action be dismissed,
25
26 with prejudice, against Defendant Medical Data Systems, Inc., with each party to bear
27
     its own attorneys’ fees and costs.
28
                                              1
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 1 July 28, 2020
 2
 3                                                  Respectfully submitted,
 4
 5                                                  By: /s/ Francis Arenas
 6                                                  Francis Arenas, Esq.
                                                    7500 W. Lake Mead Blvd., Suite 286
 7                                                  Las Vegas, NV 89128
 8                                                  Telephone: (702) 326-5725
                                                    Email: faarenas@aol.com
 9                                                  Attorneys for Plaintiff,
10                                                  Larie Shanks
11
12
                                                    /s/ Jorge A. Ramirez
13
                                                     Jorge A. Ramirez, Esq.
14                                                  Nevada Bar No. 6787
15                                                  Jonathan C. Pattillo, Esq.
                                                    Nevada Bar No. 13929
16                                                  300 South Fourth Street, 11th Floor
17                                                  Las Vegas, Nevada 89101
                                                    Attorneys for Defendant
18
19
20
21
                                    PROOF OF SERVICE
22
23          I, Francis Arenas, hereby state that on July 28, 2020 I served a copy of
     the foregoing pleading upon all counsel of record via the ECF System.
24
25
                                                    /s/ Francis Arenas
26
27
28
                                                2
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 1                   IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE DISTRICT OF NEVADA
 3 Jacquita King,
 4
                    Plaintiff,                    Case No.: 2:19-cv-01462-JCM-VCF
 5
 6        vs.
 7 Medical Data Systems, Inc.
 8
                 Defendant.
 9
10
                        ORDER OF DISMISSAL
11   WITH PREJUDICE AS TO DEFENDANT MEDICAL DATA SYSTEMS, INC
12
          The Court, having reviewed the parties’ stipulation, and finding good cause
13
14 shown;
15
          IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant Medical
16
17 Data Systems, Inc., are hereby dismissed with prejudice and without fees or costs to
18 either party. The Clerk of the Court shall terminate Medical Data Systems, Inc., as a
19
   party in this action and remove its attorneys of record from receiving ECF
20
21 Notifications.
22
         August 10, 2020
23 Date: _____________                            ______________________________
                                                  UNITED
                                                  Judge of STATES  DISTRICT
                                                           United States      JUDGE
                                                                         District Court
24
25
26
27
28
                                              3
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